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  EXHIBIT 34
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                                                    James Log-286

                    United States v. George Thomas Brokaw, et al., Case No. 13-CR-00392-CMA

                                      Code for Bases for Admission of Statements

a.   Statements which in any way promote the objective(s) of a conspiracy.
b.   Statements which reveal the existence of a conspiracy.
c.   Statements to new or prospective members of a conspiracy which explain the conspiracy.
d.   Statements which are intended to recruit potential coconspirators or to otherwise induce others to assist in carrying out
     the objectives of the conspiracy.
e.   Statements which identify a conspirator or the role of a conspirator.
f.   Statements which explain important events in the conspiracy.
g.   Statements which are designed to give directions to facilitate the objectives of the conspiracy.
h.   Statements which are designed to advise coconspirators of the progress of the conspiracy and keep them abreast of activities
     associated with the conspiracy.
i.   Statements which are intended to assure the listener of a conspirator’s ability to consummate a particular transaction.
j.   Statements which are designed to gain the trust of other conspirators or potential conspirators, to reassure trustworthiness,
     or to allay suspicions or fears.
k.   Statements which are intended to control damage to the conspiracy.
l.   Statements which prompt the listener to respond in a way that facilitates carrying out the activities of the conspiracy.
m.   Statements which conceal the objective of the conspiracy.
n.   Statements which are intended to enhance a coconspirator=s usefulness to the conspiracy.
o.   Statements which set in motion acts that are an integral part of the conspiracy.
p.   Statements which constitute “puffing” or “boasting" in promotion of the conspiracy.
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         James Log‐286
Number    Stmt Date Statement                                  Declarant   Source            Bates #s            Admission Bases

     1    11/3/2008 2005 OID Additions . . . . The             Mueller     Email from        SW‐PINE RIDGE‐      a, b, d, e, f, l, o
                    following is listed on my credit report                Mueller to        00000050
                    with the account number of New                         Morris            (Message 0022)
                    Century Mortgage ‐ #10014
                    Carrington Mortgage Svs., 1610 E. St.
                    Andrew Place, Santa Ana, CA 92705,
                    800‐561‐4567. I also sent as an
                    attachment in case this garbles on us.


     2   11/12/2008 I wanted to let you know that I did        Morris      Email to          GJ‐00000433 ‐ GJ‐   a, b, e, f, h
                    get this information and I was                         Mueller           00000434
                    finishing up the OIDs this evening . . .
                    . So I have the total for 2005 as
                    559873.27. I wanted to make sure
                    you have this total and think that this
                    is correct. I will create 6 1099 OID's
                    and get them in the mail if this seems
                    correct to you.

     3   11/13/2008 The number seems correct; you're           Mueller     Email to Morris   GJ‐00000433         a, b, d, e, f, g, l, o
                    working from what I gave you and I
                    can document my end.




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Number    Stmt Date Statement                                  Declarant   Source             Bates #s          Admission Bases
     4   11/27/2008 I will process these [tax returns] and     Morris      Email from         SW‐PINE RIDGE‐    a, b, e, f, g, h, o
                    get them printed Friday, when I get                    Morris to Vigil    00000050
                    to my good printer. I will send you                                       (Message 0077)
                    your copies to sign and file then.

     5   11/27/2008 I am ok with filing as taxable, then       Vigil       Email from Vigil   SW‐PINE RIDGE‐    a, b, e, f, g, o
                    later oiding [sic] the taxes paid to get               to Morris          00000050
                    them back . . . . I would love to get                                     (Messages 0076,
                    220K back for 05! Let's go with that                                      0077)
                    for now and see what happens.

     6   11/27/2008 I have put together an 05 return with      Morris      Email from         SW‐PINE RIDGE‐    a, b, e, f, h
                    the OID from Mistar Financial, which                   Morris to Vigil    00000050
                    has already been sent in. In filling out                                  (Messages 0076,
                    the 05 return with this as taxable it                                     0077)
                    gives a refund of $251,481.00 [sic] If
                    this then gets processed and they
                    [the IRS] deduct even the whole
                    amount they had estimated at 25K
                    the you would get a refund of about
                    220K for 05.

     7     1/5/2009 I have 2008 1099OID ready for you to       Pawelski    Email from         SW‐PINE RIDGE‐    a, b, e, f, h
                    process. . . . I will bring my                         Pawelski to        00000050
                    paperwork with me on the 12th.                         Morris             (Message 0338)

     8    1/29/2009 I will create the oid data for the         Pawelski    Email from         SW‐PINE RIDGE‐    a, b, e, f, h
                    missing documents and email them                       Pawelski to        00000050
                    to you.                                                Morris             (Message 0156)

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Number   Stmt Date Statement                                Declarant   Source        Bates #s         Admission Bases
     9   1/29/2009 need OID for these [creditors, Bank of   Pawelski    Email from    SW‐PINE RIDGE‐   a, b, e, h, l
                   America Corporation and Chase                        Pawelski to   00000050
                   Credit Company].                                     Morris        (Message 0544)

    10    2/4/2009 I gave them [information about Fair      Pawelski    Email from    SW‐PINE RIDGE‐   a, b, e, h
                   Finance and the El Paso County                       Pawelski to   00000050
                   Treasurer] to you on a 1099OID. If                   Morris        (Message 0156)
                   you do not have them, I can re‐create.




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Number   Stmt Date Statement                                 Declarant   Source           Bates #s   Admission Bases
    11   2/25/2009 On February 25, 2009, I mailed to:        Mueller     Certificate of   SW‐PALM‐   b, e
                   DEPARTMENT OF THE TREASURY                            Service          00007472
                   IRS SERVICE CENTER
                   KANSAS CITY, MISSOURI
                                    64999

                     the papers identified as:
                        1. 2008 1099‐OID and 1096
                     Transmittal
                        2. 2007 1099‐OID and 1096
                     Transmittal
                        3. 2006 1099‐OID and 1096
                     Transmittal
                        4. 2005 1099‐OID and 1096
                     Transmittal
                        5. 2004 1099‐OID and 1096
                     Transmittal
                        6. 2003 1099‐OID and 1096
                     Transmittal

                     by mailing it in a pre‐paid envelope,
                     addressed to the recipient named
                     above, bearing Certified Mail #7007
                     0220 0004 6412 4964 (IRS forms for
                     GEORGE T BROKAW)




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Number   Stmt Date Statement                             Declarant   Source       Bates #s          Admission Bases
    12   3/23/2009 My only income was a tiny amount of   Mueller     Email from    SW‐PINE RIDGE‐   b, e, h
                   dividend income, but I had two auto               Mueller to   00000050
                   loans and bank statements.                        Morris       (Message 0248)




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Number   Stmt Date Statement                              Declarant   Source             Bates #s   Admission Bases
    13   5/1/2009 On this 1st day of May, 2009, for the   Vigil       Affidavit of       00000042   b, e
                  purpose of verification, I, the                     Notary
                  undersigned Notary Public, being                    Presentment /
                  commissioned in the County and                      Certification of
                  State noted above, do certify that                  Mailing
                  George‐Thomas :Brokaw appeared
                  before me with the following
                  documents listed below. I, the below
                  signed notary, personally verified
                  that these docuemnts were placed in
                  an envelope and sealed by me. They
                  were sent by United States Post
                  Office Certified Mail # 7008 1140
                  0001 7940 7155.

                    DEPARTMENT OF THE TREASURY
                    INTERNAL REVENUE SERVICE CENTER
                    FRESNO, CA. 93888‐0002

                    List of Documents Mailed:

                    Copy of Affidavit of Notary
                    Presentment
                    Cover Letter
                    1040X form for 2003
                    copy of 1099OID forms for 2003
                    Cover Letter
                    1040X form for 2004

                                                                                                    Page 6 of 17
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Number   Stmt Date Statement                       Declarant   Source   Bates #s       Admission Bases
    13   5/1/2009 copy of 1099OID forms for 2004
                  Cover Letter
                  1040 form for 2005
                  copy of 1099OID forms for 2005
                  Cover Letter
                  1040 form for 2006
                  copy of 1099OID forms for 2006
                  Cover Letter
                  1040 form for 2007
                  copy of 1099OID forms for 2007
                  Cover Letter
                  1040 form for 2008
                  copy of 1099OID forms for 2008
                  Cover Letter




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Number   Stmt Date Statement                                   Declarant   Source           Bates #s    Admission Bases
    14   5/15/2009 Be it known that I, Clara M. Mueller,       Clara       NOTARY           SW SHADY‐   b, e
                   a duly empowered notary public, in          Mueller     CERTIFICATE OF   00002030
                   and for the STATE OF COLORADO,                          SERVICE
                   COUNTY OF EL PASO, a third party
                   and not a party to the matter, for the
                   sole purpose of certifying a response
                   or want thereof, at the request of
                   Mimi‐Michelle: Vigil, did present on
                   this day, the following documents to
                   wit:

                     1. Original letter from Mimi Michelle
                     Vigil to Ms. Green (2 pages)
                     2. Copy ‐ IRS letter 3176(C) dated
                     April 21, 2009 (2 pages)
                     3. Copy ‐ Form 1040 for tax period
                     2005
                     4. Copy ‐ UCC 3 and Addendum
                     5. Copy ‐ Power of Attorney
                     6. Copy ‐ Notary Certificate of Service
                     (signed original on file).

                     I hereby certify that after reviewing
                     the documents, I mailed said
                     documents via the United States
                     Postal Service, Certified Mail, # 7006
                     3450 0000 3036 4160 prepaid and
                     addressed to:

                                                                                                        Page 8 of 17
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Number   Stmt Date Statement                    Declarant   Source    Bates #s        Admission Bases
    14   5/15/2009

                     Maureen Green
                     OPERATIONS MANAGER
                     INTERNAL REVENUE SERVICE
                     OGDEN, UT 84201‐0030




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Number   Stmt Date Statement                                 Declarant   Source           Bates #s     Admission Bases
    15   5/15/2009 Be it known that I, Clara M. Mueller,     Mueller     Notary           SW SHADY‐    b, e
                   a duly empowered notary, in and for                   Certificate of   00002034
                   the STATE OF COLORADO, COUNTY                         Service /
                   OF EL PASO, a third party and not a                   Affidavit
                   party to the matter, for the sole
                   purpose of certifying a response or
                   want thereof, at the request of Mimi‐
                   Michelle: Vigil, did present on this
                   day, the following documents to wit:

                     Copy of letter from Mimi Michelle
                     Vigil to Ms. Green (2 pages)
                     Copy ‐ IRS letter 3176(C) dated April
                     21, 2009 (2 pages)
                     Copy ‐ Form 1040 for tax period 2005
                     Copy ‐ UCC 3 and Addendum
                     Copy ‐ Power of Attorney
                     Copy ‐ Notary Certificate of Service
                     (signed original on file).

                     I herby certify that after reviewing
                     the documents, I mailed said
                     documents via United States Postal
                     Service with Delivery Confirmation #
                     0308 3390 0002 0765 3492 prepaid
                     and addressed to:

                     ERIC THORSON

                                                                                                      Page 10 of 17
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Number   Stmt Date Statement                    Declarant   Source    Bates #s        Admission Bases
    15   5/15/2009 TREASURY INSPECTOR GENERAL
                   1500 Pennsylvania Ave., NW
                   Washington, DC. 20220




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Number   Stmt Date Statement                                 Declarant   Source           Bates #s     Admission Bases
    16   5/15/2009 Be it known that I, Clara M. Mueller,     Mueller     Notary           SW SHADY‐    b, e
                   a duly empowered notary public, in                    Certificate of   00002032
                   and for the STATE OF COLORADO,                        Service /
                   COUNTY OF EL PASO, a third party                      Affidavit
                   and not a party to the matter, for the
                   sole purpose of certifying a response
                   or want thereof, at the request of
                   Mimi‐Michelle: Vigil, did present on
                   this day, the following documents to
                   wit:

                     Copy of letter from Mimi Michelle
                     Vigil to Ms. Green (2 pages)
                     Copy ‐ IRS letter 3176(C) dated April
                     21, 2009 (2 pages)
                     Copy ‐ Form 1040 for tax period 2005
                     Copy ‐ UCC 3 and Addendum
                     Copy ‐ Power of Attorney
                     Copy ‐ Notary Certificate of Service
                     (signed original on file).

                     I herby certify that after reviewing
                     the documents, I mailed said
                     documents via United States Postal
                     Service with Delivery Confirmation #
                     0308 3390 0002 0765 3405 prepaid
                     and addressed to:


                                                                                                      Page 12 of 17
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Number   Stmt Date Statement                             Declarant   Source   Bates #s    Admission Bases
    16   5/15/2009 TIMOTHY F. GEITHNER ‐ Secretary of
                   the US Treasury
                   The United States Department of the
                   Treasury
                   1500 Pennsylvania Ave., NW
                   Washington, DC. 20220




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Number   Stmt Date Statement                                 Declarant   Source           Bates #s      Admission Bases
    17   5/15/2009 Be it known that I, Clara M. Mueller,     Mueller     Notary           SW SHADY ‐    b, e
                   a duly empowered notary, in and for                   Certificate of   00002030
                   the STATE OF COLORADO, COUNTY                         Service
                   OF EL PASO, a third party and not a                   /Affidavit
                   party to the matter, for the sole
                   purpose of certifying a response or
                   want thereof, at the request of Mimi‐
                   Michelle: Vigil, did present on this
                   day, the following documents to wit:

                     Original letter from Mimi Michelle
                     Vigil to Ms. Green (2 pages)
                     Copy ‐ IRS letter 3176(C) dated April
                     21, 2009 (2 pages)
                     Copy ‐ Form 1040 for tax period 2005
                     Copy ‐ UCC 3 and Addendum
                     Copy ‐ Power of Attorney
                     Copy ‐ Notary Certificate of Service
                     (signed original on file).

                     I herby certify that after reviewing
                     the documents, I mailed said
                     documents via United States Postal
                     Service, Certified Mail, # 7006 3450
                     0000 3036 4160 prepaid and
                     addressed to:

                     Maureen Green

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Number   Stmt Date Statement                   Declarant   Source     Bates #s        Admission Bases
    17   5/15/2009 OPERATIONS MANAGER
                   INTERNAL REVENUE SERVICE
                   OGDEN, UT 84201‐0030




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Number   Stmt Date Statement                                 Declarant   Source           Bates #s     Admission Bases
    18   5/15/2009 Be it known that I, Clara M. Mueller,     Mueller     Notary           SW SHADY‐    b, e
                   a duly empowered notary public, in                    Certificate of   00002036
                   and for the STATE OF COLORADO,                        Service /
                   COUNTY OF EL PASO, a third party                      Affidavit
                   and not a party to the matter, for the
                   sole purpose of certifying a response
                   or want thereof, at the request of
                   Mimi‐Michelle: Vigil, did present on
                   this day, the following documents to
                   wit:

                     Copy of letter from Mimi Michelle
                     Vigil to Ms. Green (2 pages)
                     Copy ‐ IRS letter 3176(C) dated April
                     21, 2009 (2 pages)
                     Copy ‐ Form 1040 for tax period 2005
                     Copy ‐ UCC 3 and Addendum
                     Copy ‐ Power of Attorney
                     Copy ‐ Notary Certificate of Service
                     (signed original on file).

                     I herby certify that after reviewing
                     the documents, I mailed said
                     documents via United States Postal
                     Service with Delivery Confirmation #
                     0308 3390 0002 0765 3412 prepaid
                     and addressed to:


                                                                                                      Page 16 of 17
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Number   Stmt Date Statement                               Declarant   Source          Bates #s     Admission Bases
    18   5/15/2009 Douglas Shulman
                   OFFICE OF THE COMMISIONER
                   INTERNAL REVENUE SERVICE
                   1111 Constitutional Ave., NW
                   Washington, DC. 20224

    19    6/4/2009 On this day before me, John Pawelski,   Vigil       AFFIDAVIT OF     00002836    b, e
                   personally appeared John‐Joseph:                    TRUTH RE:
                   Pawelski to me on the basis of                      Pawelski's 1099‐
                   satisfactory evidence to be the                     OID Tax Returns
                   person who attested and subscribed
                   to the within instrument, by his
                   unlimited commercial liability, as
                   true, correct, complete and not
                   misleading.

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